






Alvin Andrews v. State















IN THE
TENTH COURT OF APPEALS
                       

No. 10-01-240-CR

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;ALVIN ANDREWS,
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;v.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;THE STATE OF TEXAS,
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellee
                                 

From the 278th District Court
Walker County, Texas
Trial Court # 20,483-C
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
O P I N I O N
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A jury convicted Alvin L. Andrews of the offense of possession of a deadly weapon in a penal
institution and assessed his punishment at 25 years in the Texas Department of Criminal Justice,
Institutional Division.  Andrews's appellate counsel has filed a motion to withdraw from
representation of Andrews and has filed a supporting Anders brief.  See Anders v. California, 386
U.S. 738, 744, 87 S. Ct. 1396, 1400, 18 L. Ed. 2d 493 (1967).  Our record reflects that counsel
has provided Andrews with a copy of the brief, has informed him of the right to review the record,
has provided him with a copy of the record, and informed him of his right to file a brief or other
response on his own.  More than thirty days have passed since the brief was filed and Andrews
was notified of those rights, but he has filed no response.  See Sowels v. State, 45 S.W.3d 690,
691 (Tex. App.—Waco 2001, no pet.).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Counsel considers the trial court’s actions with respect to Andrews’s representation by counsel
at trial and his right to proceed pro se; the sufficiency of the evidence; Andrews’s removal from
the courtroom for misconduct; errors in the judgment; the indictment; the effectiveness of trial
counsel; the court’s charge; and proof of enhancements.  Counsel’s brief contains references to
both the record and applicable statutes, rules and cases and discusses why counsel concludes that
the record does not present an arguable issue.  See Currie v. State, 516 S.W.2d 684, 684 (Tex.
Crim. App. 1974) (brief contains a professional evaluation of the record demonstrating why, in
effect, there are no arguable issues to be advanced).  We are satisfied that counsel has diligently
searched the record for any arguable issue.  McCoy v. Court of Appeals of Wisconsin Dist. 1, 486
U.S. 429, 442, 108 S. Ct. 1895, 1904, 100 L. Ed. 2d 440 (1988).  We have independently
reviewed the record to search for any issues “which might arguably support an appeal.”  Sowels,
45 S.W.3d at 691-92.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Because we have determined that there are no issues “which might arguably support an
appeal,” we affirm the judgment.  Inasmuch as this court does not have authority to permit
appointed counsel to withdraw, we dismiss counsel’s motion to withdraw.  Id. at 692.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;JOHN G. HILL
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Senior Justice

Before Chief Justice Davis,
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice Vance, and
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Senior Justice Hill (Sitting by Assignment)
Affirmed
Opinion delivered and filed March 19, 2003
Do not publish
[CRPM]



"text-align: justify; line-height: 0.388889in"&gt;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The summary judgment movant bears the burden to prove that no genuine issue of material fact
exists and that he is entitled to summary judgment as a matter of law.  Tex. R. Civ. P. 166a(c);
Nixon v. Mr. Property Management Co., 690 S.W.2d 546, 548 (Tex. 1985); Bomar v. Walls
Regional Hosp., 983 S.W.2d 834, 837 (Tex. App.—Waco 1998, pet. filed); Delta Air Lines, Inc.
v. Norris, 949 S.W.2d 422, 425 (Tex. App.—Waco 1997, writ denied).  If the movant is the
defendant, he must conclusively negate at least one of the elements of the non-movant's cause of
action or conclusively establish every element of an affirmative defense.  Randall’s Food Mkts.,
Inc. v. Johnson, 891 S.W.2d 640, 644 (Tex. 1995); Kinnard v. Circle K Stores, Inc., 966 S.W.2d
613, 616 (Tex. App.—San Antonio 1998, no pet.).  Even if the non-movant does not file a
response and the motion for summary judgment is uncontroverted, the movant still retains the
burden to prove that he is entitled to summary judgment as a matter of law.  City of Houston v.
Clear Creek Basin Auth., 589 S.W.2d 671, 678 (Tex. 1979); Hubert v. Ill. State Assistance
Comm'n, 867 S.W.2d 160, 162 (Tex. App.—Houston [14th Dist.] 1993, no writ).  Once the
movant establishes a right to summary judgment, the burden then shifts to the non-movant to
present issues that would preclude a summary judgment.  Drennan v. Community Health Inv.
Corp., 905 S.W.2d 811, 817 (Tex. App.—Amarillo 1995, writ denied).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;When determining whether a material fact issue exists, we must accept as true all evidence
favorable to the non-movant.  Nixon, 690 S.W.2d at 548-49; Delta Air Lines, Inc., 949 S.W.2d
at 425.  We must also resolve all doubts and indulge every reasonable inference in favor of the
non-movant.  Nixon, 690 S.W.2d at 549; Delta Air Lines, Inc., 949 S.W.2d at 425.  Summary
judgment is not intended to deprive the litigants of their right to a full hearing on the merits of any
real fact issue.  Kim v. State Farm Mut. Auto. Ins. Co., 966 S.W.2d 776, 778 (Tex. App.—Dallas
1998, no pet.).  If the trial court's order affirming the movant's summary judgment does not
specify the grounds relied upon for its ruling, we will affirm the judgment if any of the grounds
within the motion for summary judgment are meritorious.  State Farm Fire &amp; Cas. Co. v. S.S.,
858 S.W.2d 374, 380 (Tex. 1993); Gardner v. Best Western Int'l, 929 S.W.2d 474, 479 (Tex.
App.—Texarkana 1996, writ denied).
STATUTE OF LIMITATIONS
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Wade argues that Button’s actions created a constructive trust.  Because there is no specific
limitations period for constructive trust claims, he asserts that the four-year residual limitations
period applies.  See Tex. Civ. Prac. &amp; Rem. Code § 16.051 (Vernon 1997).  Thus, if he is
correct, his suit was timely.  Wade relies on Austin Lake Estates, Inc. v. Meyer to support his
assertion that he has a constructive trust claim.  557 S.W.2d 380 (Tex. App.—Austin 1977, no
writ).  In Austin Lake Estates, the court considered whether a constructive trust was properly
imposed on money received in the wrongful sale of property.  The court found that it was.  Wade
urges that the holding in Austin Lake mandates that he has a constructive trust claim rather than
a wrongful execution claim.  We disagree.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A constructive trust prevents a wrongdoer from escaping the consequences of selling another’s
land and keeping the proceeds.  Id. at 382.  When one party wrongfully takes the property of
another, a constructive trust follows the property or its proceeds.  Id. (citing Hand v. Errington,
242 S.W. 722, 724 (Tex. Comm’n App. 1922)).  On the other hand, conversion has been defined
as "the unauthorized and unlawful exercise of dominion and control over property inconsistent
with or to the exclusion of another's superior rights in that property."  Vickery v. Texas Carpet
Co., Inc., 792 S.W.2d 759, 763 (Tex. App.—Houston [14th Dist.] 1990, writ denied); see also
Bandy v. First State Bank, 835 S.W.2d 609, 622 (Tex. 1992).  For example, if someone exercises
dominion and control over a car by selling it without having a right to do so, he converts the
vehicle.  Kollision King, Inc. v. Calderon, 968 S.W.2d 20, 23 (Tex. App.—Corpus Christi 1998,
no writ) (citing L.L.M. v. Mayes, 733 S.W.2d 642, 646 (Tex. App.—San Antonio 1987, no writ)).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Wade is complaining that his right to the truck was superior to Button’s because the truck was
exempt from the writ of execution.  He argues that Button improperly exercised control over his
property.  This is a claim of wrongful conversion which is controlled by a two-year statute of
limitations.  See Tex. Civ. Prac. &amp; Rem. Code § 16.003 (Vernon 1986 &amp; Supp. 1999).  Because
the sale occurred in May of 1995 and suit was not filed until January of 1998, Wade’s claim is
time-barred.  Thus, summary judgment was proper on the grounds of limitations.  We need not
address the other grounds on which summary judgment could have been granted.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We overrule Wade’s issue and affirm the judgment.
&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;BILL VANCE
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice

Before Chief Justice Davis,
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice Vance, and
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice Gray
Affirmed
Opinion delivered and filed August 11, 1999
Do not publish


